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                           No. 23-40650

        IN THE UNITED STATES COURT OF APPEALS
                FOR THE FIFTH CIRCUIT


   CHAMBER OF COMMERCE OF THE UNITED STATES OF
       AMERICA; LONGVIEW CHAMBER OF COMMERCE;
   AMERICAN BANKERS ASSOCIATION; CONSUMER BANKERS
   ASSOCIATION; INDEPENDENT BANKERS ASSOCIATION OF
      TEXAS; TEXAS ASSOCIATION OF BUSINESS; TEXAS
                  BANKERS ASSOCIATION,

                                           Plaintiffs – Appellees
                                    v.
CONSUMER FINANCIAL PROTECTION BUREAU; ROHIT CHOPRA,

                                          Defendants – Appellants.


        On Appeal from the United States District Court
               for the Eastern District of Texas
                 Case No. 1:22-cv-00381-JCB

                     BRIEF OF APPELLANTS


                                         Seth Frotman
                                           General Counsel
                                         Steven Y. Bressler
                                           Deputy General Counsel
                                         Christopher Deal
                                           Assistant General Counsel
                                         Justin M. Sandberg
                                         Ryan Cooper
                                           Senior Counsel
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                                Consumer Financial Protection
                                Bureau
                                1700 G Street NW
                                Washington, DC 20552
                                Justin.Sandberg@cfpb.gov
                                Ryan.Cooper@cfpb.gov
                                (202) 450-8786 (Sandberg)
                                (202) 702-7541 (Cooper)
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            STATEMENT REGARDING ORAL ARGUMENT

     The Consumer Financial Protection Bureau (CFPB or Bureau)

believes that oral argument would facilitate the Court’s consideration of

the issues in this case.




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                           INTRODUCTION

     In its March 2022 updates to a staff manual for its examiners, the

CFPB noted that discrimination can satisfy the statutory requirements

for unfairness under the Consumer Financial Protection Act. In other

words, the CFPB noted that discrimination can sometimes cause (or be

likely to cause) substantial injury to consumers that is not reasonably

avoidable and that is not outweighed by countervailing benefits to

consumers or competition. See 12 U.S.C. § 5531(c). The Bureau did not

determine that any particular discriminatory practice was unfair.

Instead, the Bureau directed its examiners to collect information so that

they could assess whether supervised institutions might be engaged in

discriminatory conduct that satisfied the statutory unfairness standard.

     Before the Bureau’s examiners could do so, Plaintiffs, an array of

business associations representing unnamed members, sued.

The district court held that discrimination cannot be unfair under

§ 5531’s three-prong test. The court also granted a de facto universal

injunction in favor of the Plaintiff associations and their anonymous

members, including future and unharmed members. As a result, if a

financial institution were to debank a customer because of its


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assessment of the customer’s religious beliefs, the Bureau could not

investigate to determine whether that conduct is unfair.

     The district court erred throughout its analysis, beginning with

standing. Plaintiff associations obtained a permanent injunction for

their current and future members based solely on the associations’ self-

descriptions of their memberships and without ever identifying any

individual member that suffered the requisite Article III harm. In the

process, the district court put the burden on the Bureau to show that

Plaintiffs’ members weren’t harmed. The Supreme Court rejected this

approach to standing in Summers v. Earth Island Institute, 555 U.S.

488 (2009), and this Court should reject it here.

     The standing defects also undercut venue: the plaintiff on which

venue is based must have standing, and it doesn’t here. The district

court made no real effort to assess the standing of the venue securing

Plaintiff, treating it as following necessarily from the fact that it

concluded other Plaintiffs have standing. But that’s not how standing

works. See TransUnion LLC v. Ramirez, 594 U.S. 413, 431 (2021).

     The standing problems don’t end there, however. Even if Plaintiffs

had standing to challenge the March 2022 updates to the manual as a


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final rule, they do not have standing to challenge hypothetical

supervisory and enforcement actions. After all, “standing is not

dispensed in gross,” id., and federal courts don’t “adjudicate

hypothetical … disputes,” id. at 423. Plaintiffs identify neither any

present or imminent agency supervisory or enforcement actions that

harmed their members nor anything that their members would do if

discriminatory conduct can’t be unfair under § 5531.

     Not only did the Court overstep by acting in a case in which it

lacked jurisdiction, but it compounded that error by making sweeping—

and incorrect—pronouncements about the scope of the CFPB’s statutory

authority. The district court concluded that the Bureau can never treat

any discrimination as unfair under § 5531. It did not base this

counterintuitive holding on the text of the statute alone. It couldn’t:

discriminatory acts can easily satisfy the standard for unfairness

Congress set out in § 5531. Instead, the district court grounded its

holding in the major questions doctrine, see W. Virginia v. Env’t Prot.

Agency, 597 U.S. 697, 723 (2022), concluding that discrimination can

never be unfair under § 5531 largely because, in the future, the Bureau




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might take actions the district court thought would present a major

question.

       The district court’s analytical framework was flawed. To

establish that discrimination is facially excluded from the Bureau’s

unfairness authority, plaintiffs would have had to show that there are

no circumstances in which discrimination can be unfair consistent with

the statute. See, e.g., Reno v. Flores, 507 U.S. 292, 301 (1993) (stating

that a facial challenge to rule as lacking statutory authority can succeed

only if there is no valid application of the rule). Plaintiffs cannot meet

that heavy burden. Even assuming that the major questions doctrine

could be relevant to what conduct qualifies as unfair under § 5531,

Plaintiffs cannot show that the doctrine would always mean that

discrimination cannot be unfair. Imagine a payments company refused

to serve African Americans because of their race. Or a bank closed the

accounts of customers because of their religion (or the bank’s

assumptions about their religion based on data mining). Or a prepaid

card issuer charged higher fees to men based on their sex. Would it

present a major question for the Bureau to conclude that this sort of

conduct is unfair? Obviously not. See, e.g., Biden v. Nebraska, 143 S.


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Ct. 2355, 2374 (2023). Indeed, several of the Plaintiffs have

“reaffirm[ed]” that “discrimination has no place in the financial services

marketplace,”1 many financial institutions agree, see § II.A.3.a., and

states have outlawed political and religious discrimination by financial

institutions, see § I.A.2.a. Thus, the district court erred by holding that

the Bureau lacked the statutory authority to ever treat discrimination

as unfair.

     Lastly, the district court ordered an overbroad remedy, extending

injunctive relief to all Plaintiffs and their members without regard to

their standing, and issuing declaratory relief that prohibits the CFPB

from doing that which the statute allows.

      This Court should reverse the district court’s judgment.

                   JURISDICTIONAL STATEMENT

     Plaintiffs asserted claims under the Administrative Procedure Act

(APA), 5 U.S.C. §§ 701–706, and invoked the district court’s jurisdiction

under 28 U.S.C. § 1331. The district court entered a final judgment in




1
 American Banker Association, Joint Trades Call on CFPB to Rescind
Revised Examination Manual, Press Release (June 28, 2022),
https://www.aba.com/about-us/press-room/press-releases/joint-trades-
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favor of Plaintiffs on September 8, 2023. ROA.3109–10. Defendants

filed a timely notice of appeal on November 6, 2023. ROA.3131. This

Court has jurisdiction under 28 U.S.C. § 1291.

                         ISSUES PRESENTED

     1.    Was the district court right to reach the merits of this

lawsuit even though the Plaintiff associations use declarations relying

on second-hand testimony to establish the standing of anonymous

members, including the Plaintiff on which venue is based, and raise

claims about hypothetical supervisory and enforcement actions that

may never occur?

     2.    Is it categorically impossible for discrimination to satisfy the

statutory standard for unfairness under 12 U.S.C. § 5531?

     3.    Does the Bureau’s funding statute comply with the

Appropriations Clause?

     4.    Assuming any remedy is appropriate, did the district court

appropriately issue declaratory and injunctive relief, when vacatur

would remedy the alleged injuries, the injunction runs to future

association members, and the declaratory relief declares lawful conduct

impermissible?


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                              STATEMENT

A.   The Consumer Financial Protection Act

     The CFPB was created through the Consumer Financial

Protection Act (CFPA), 124 Stat. 1376. The statute authorized the

Bureau, in relevant part, to: (1) prohibit unfair, deceptive or abusive

acts or practices, and (2) supervise certain financial institutions.

     1.    The CFPB’s UDAAP Authority

     Congress prohibited certain participants in consumer-financial

markets from engaging in any “unfair, deceptive, or abusive act or

practice,” 12 U.S.C. § 5536(a)(1)(B), commonly referred to as a

“UDAAP.” The CFPB has the authority to define unfair acts or practices

by regulation, id. § 5531(b), and to enforce the statutory prohibitions on

them, id. §§ 5563, 5564. Congress established that, before determining

that an act or practice is “unfair,” the CFPB must have “a reasonable

basis to conclude that—(A) the act or practice causes or is likely to

cause substantial injury to consumers which is not reasonably avoidable

by consumers; and (B) such substantial injury is not outweighed by

countervailing benefits to consumers or to competition.” Id. § 5531(c).




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There is no exception in the definition of “unfair” acts and practices for

discriminatory conduct.

     The language in the CFPA defining an “unfair” act or practice is

drawn from the Federal Trade Commission (FTC) Act, 15 U.S.C.

§ 45(n). See Cmty. Fin. Servs. Ass’n of Am., Ltd. v. CFPB (“CFSA”), 51

F.4th 616, 627 (5th Cir. 2022), rev’d and remanded, 601 U.S. 416 (2024)

(explaining that the CFPB’s unfairness authority is interpreted in light

of “the analogous standard in the Federal Trade Commission Act”).

Consistent with Congressional intent, courts have long understood that

the statutory prohibition on unfairness is not confined “to fixed and

unyielding categories.” FTC v. Sperry & Hutchinson Co., 405 U.S. 233,

243 (1972) (quotation marks omitted); see also id. at 240 (“It is

impossible to frame definitions which embrace all unfair practices.

There is no limit to human inventiveness in this field.” (quoting H.R.

Rep. No. 63-1142, at 19 (1914) (Conf. Rep.)).

     2.    The CFPB’s Supervisory Authority

     Congress authorized the CFPB to supervise certain financial

entities, including insured depository institutions and credit unions

(with total assets in excess of $10 billion) and certain nonbanks. 12


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U.S.C. §§ 5514(a)(1), 5515(a). The purpose of this supervisory authority

is to enable the CFPB to “assess[] compliance with the requirements of

Federal consumer financial laws,” to “obtain[ ] information” about

“compliance systems or procedures,” and to “detect[] and assess[] …

risks to consumers and to markets for consumer financial products and

services.” Id. § 5515(b)(1).

      The CFPB is authorized to conduct examinations of the entities it

supervises. Over the course of an exam, the CFPB collects information

from the supervised entity, assesses the adequacy of the entity’s

compliance management systems, identifies practices that may violate

federal law, and consults with the entity regarding potential follow-up

actions. See ROA.300–01. Prior to conducting an examination, CFPB

personnel determine the scope of the examination, i.e., what topics will

be the subject of the examination. ROA.301. No exam covers all topics.

Id. To assist its examiners, the CFPB issues a Supervision and

Examination Manual (“Exam Manual”). ROA.296–348.

B.    The Manual Update

      In March 2022, the CFPB revised the chapter of the Exam Manual

on UDAAPs. The UDAAP chapter has two parts. The first part provides


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examples of UDAAPs and describes the legal standards that govern

those UDAAPs. ROA.310-19. The second part provides instructions to

CFPB examiners regarding examination objectives. ROA.320–28.

     The CFPB revised both parts. As to the first part, the CFPB

revised its description of unfairness by explicitly recognizing what had

been unspoken in the Manual: that discriminatory conduct can be

unfair if it meets the statutory standards for unfairness. ROA.311–12.

The Exam Manual did not previously say otherwise; it simply did not

specifically mention discriminatory conduct, just as it did not explicitly

mention many other potential strains of unfair conduct. With regard to

the second part, the Bureau provided clarity to examiners about the

types of questions they should ask and the factual assessments they

should make to allow the Bureau to assess whether potentially

discriminatory conduct satisfies the statutory unfairness standard.

ROA.322–27.

C.   This Litigation

     Plaintiffs—a group of trade associations—filed suit in the Eastern

District of Texas on behalf of unnamed members that purport to have

been injured as a result of the Manual Update. ROA.12-36. Plaintiffs


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alleged that the Manual Update: (1) exceeded the CFPB’s statutory

authority and thereby violated the Administrative Procedure Act (APA),

5 U.S.C. § 706(2)(A), (C), because the CFPB’s authority to regulate

unfair acts or practices does not reach discrimination; (2) violated the

APA’s prohibition on arbitrary-and-capricious agency action, id.

§ 706(2)(A), because “it contradicts the historical use and understanding

of the term ‘unfair’” and also because the CFPB “failed to adopt

safeguards that are essential for pursuing disparate-impact liability”;

and (3) violated the APA’s notice-and-comment requirement, id. § 553.

Plaintiffs also alleged the CFPB relied on a funding scheme that this

Court had previously held to be unconstitutional, see CFSA, 51 F.4th

633–44. ROA.32–35.

     Plaintiffs moved for summary judgment on all of their claims.

ROA.178–218. They asked the district court not only to vacate the

Manual Update but also to “declare that the CFPB has no UDAAP

authority over discrimination and enter a permanent injunction barring

the CFPB from exercising that authority.” ROA.211. The CFPB opposed

Plaintiffs’ motion for summary judgment and moved for dismissal or, in

the alternative, for partial summary judgment. ROA.1441–90


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     On September 8, the district court issued its decision. ROA.3086–

3108. The district court concluded that Plaintiffs all have standing, that

venue was proper in the Eastern District of Texas, and that the Manual

Update was final agency action. ROA.3090–97. The court granted

Plaintiffs summary judgment on their claim that CFPB’s funding

structure was unconstitutional, noting the “binding force” of this Court’s

decision in CFSA. ROA.3097. The court also granted Plaintiffs

summary judgment on their claim that the Manual Update exceeded

the CFPB’s statutory authority. ROA.3097-3104. In assessing whether

discrimination can fall within the scope of the CFPB’s unfairness

authority, the court applied the “major questions canon.” ROA.3098. It

held that “whether the CFPB has authority to police the financial

services industry for discrimination … is a question of major economic

and political significance.” ROA.3098. And it held that the language in

the CFPA “authorizing the CFPB to regulate unfair acts or practices is

not the sort of exceedingly clear language that the major questions

doctrine demands.” ROA.3103.

     The court vacated the Manual Update. ROA.3109. But it did not

stop there. It also declared “that the pursuit of any examination,


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supervision, or enforcement action against any member of a plaintiff

organization based on the [CFPB]’s interpretations of its UDAAP

authority announced in the March 2022 update … would be unlawful.”

ROA.3109. And it entered a permanent injunction barring the CFPB

and “all persons in active concert or participation with them” from

pursuing any examination, supervision, or enforcement action against

any of Plaintiffs’ members that is based on the CFPB’s interpretation of

its unfairness authority set forth in the Manual Update.2 Id. The

injunction applies to all of Plaintiffs’ current—and future—members,

and there is nothing to stop a company from paying to join one of the

plaintiff associations at any point in the future in order to enjoy the

benefit of the injunction.




2 The logic of the district court’s decision would also undercut the ability

of state attorneys general to enforce the prohibition on unfairness, as
permitted by 12 U.S.C. § 5552(a).
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      While this appeal was pending, the Supreme Court reversed this

Court’s CFSA decision, holding that the CFPB’s “funding mechanism

complies with the Appropriations Clause.” CFSA, 601 U.S. at 421.

                        SUMMARY OF ARGUMENT

      The district court’s decision should be reversed because the court

erred with respect to threshold matters, the merits, and the scope of

relief. Threshold issues first. Plaintiffs lack standing to sue at all for

two reasons. First, Plaintiffs have not properly identified the members

on whose behalf they are suing, notwithstanding the Supreme Court’s

directive in Summers, 555 U.S. at 498, that standing depends on doing

so. Second, Plaintiffs did not submit the kind of evidence needed to

establish standing at the summary judgment phase of the case, relying

on hazy second-hand statements about members’ alleged injuries.

Relatedly, the district court was not a proper venue for this case

because, even if some Plaintiffs had standing, the only Plaintiff residing

in the venue did not. Finally with respect to threshold issues, even if

Plaintiffs have standing to challenge the changes to the Manual, they

lack standing to challenge hypothetical future supervisory and




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enforcement actions that may never occur. They also lack standing to

obtain relief for unharmed associations and members.

     The case for reversal based on the merits is equally strong. The

only natural reading of § 5531 is that unfairness can encompass

discriminatory acts. But the district court held, relying on the major

questions doctrine, that, as a facial matter, discriminatory acts or

practices cannot be unfair under § 5531. This holding depends on there

being no valid application of the statute to discriminatory conduct. See

Reno, 507 U.S. at 301 (stating that one valid application defeats facial

challenge to claim of lack of statutory authority). But treating

discriminatory conduct as unfair under § 5531 would not necessarily

raise a major question. For example, it would not raise a major question

to treat intentional race, sex, or religious discrimination as unfair.

There is no serious debate about whether such discrimination is

appropriate—nor is there any credible argument that prohibiting

intentional racial, sexual, or religious bigotry would impose a vast cost

on banks or other financial service providers (especially as many

already claim to forbid such conduct by their employees). Lastly on the

merits, the Supreme Court has rejected the conclusion that the


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Bureau’s funding statute violates the Appropriations Clause. CFSA, 601

U.S. at 421.

     Finally, the court erred with respect to remedy. If any remedy

were appropriate, then it would be vacatur. Given the sufficiency of

vacatur, no injunction is warranted. Monsanto Co. v. Geertson Seed

Farms, 561 U.S. 139, 160-66 (2010). At a minimum, under basic

standing principles and traditional remedial principles, the injunction

should not extend to future members of the Plaintiff associations.

Lastly, the district court issued overly broad declaratory relief, which

declares conduct authorized by statute as unlawful.

                       STANDARDS OF REVIEW

     Issues of standing and ripeness are reviewed de novo. See

Contender Farms, L.L.P. v. USDA, 779 F.3d 258, 264 (5th Cir. 2015).

Venue issues are generally reviewed for abuse of discretion. See Trois v.

Apple Tree Auction Ctr., Inc., 882 F.3d 485, 492 (5th Cir. 2018).

     The district court’s grant of summary judgment and its resolution

of legal questions, including those under the APA and the Constitution,

are reviewed de novo. OnPath Fed. Credit Union v. United States Dep’t




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of Treasury, 73 F.4th 291, 296 (5th Cir. 2023); Fath v. Texas Dep’t of

Transportation, 924 F.3d 132, 136 (5th Cir. 2018).

     Finally, courts review the issuance of permanent injunctions and

declaratory relief for an abuse of discretion. See Texas v. United States,

50 F.4th 498, 530 (5th Cir. 2022); Torch, Inc. v. LeBlanc, 947 F.2d 193,

194 (5th Cir. 1991).

                              ARGUMENT

I.   Threshold Issues Require Reversal of the District Court’s Decision

     A.    Plaintiffs Have Not Established Associational Standing.

     This case should be dismissed for want of jurisdiction because the

Plaintiff associations have failed to show Article III standing. To bring

suit on behalf of its members, a plaintiff-association must establish

that: “(a) its members would otherwise have standing to sue in their

own right; (b) the interests it seeks to protect are germane to the

organization’s purpose; and (c) neither the claim asserted nor the relief

requested requires the participation of individual members in the

lawsuit.” Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 343

(1977). Plaintiffs have not met their burden because they have refused




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to name their members and failed to prove that any of their unnamed

members would have standing to bring suit on their own.

           1.    The Supreme Court’s decision in Summers requires a
                 plaintiff-association to name an injured member.

     In Summers, the Supreme Court held that to establish

associational standing a plaintiff-association must “name” its members

“who were harmed” by the challenged conduct. 555 U.S. at 498 (citing

FW/PBS, Inc. v. Dallas, 493 U.S. 215, 235 (1990)). The Court explained

that “this requirement of naming the affected members” is well-

established in the Court’s precedent and “has never been dispensed

with” except in the rare circumstance “where all the members of the

organization are affected by the challenged activity.” Id. at 498–99. It

concluded that to allow an association to establish standing without

naming its injured members “would make a mockery” of the Court’s

Article III jurisprudence, id. at 498, and vitiate the foundational

principle that standing “requires … a factual showing of perceptible

harm,” id. at 499.

     The courts of appeals disagree as to whether (and when) the

naming requirement can be satisfied using pseudonyms. Compare Do

No Harm v. Pfizer, Inc., 96 F.4th 106 (2d Cir. 2024) with Speech First,
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Inc. v. Shrum, 92 F.4th 947 (10th Cir. 2024), and Am. All. for Equal Rts.

v. Fearless Fund Mgmt., LLC, 103 F.4th 765 (11th Cir. 2024). But, if

nothing else, Summers requires a plaintiff-association “to make specific

allegations establishing that at least one identified member had

suffered or would suffer harm.” 555 U.S. at 498. Most of the Plaintiffs in

this case have failed to identify any specific member injured by the

Manual Update—by legal name, by pseudonym, or otherwise. Those

Plaintiffs—including the Longview Chamber of Commerce (“Longview

Chamber”), the only Plaintiff that resides in the Eastern District of

Texas—all lack standing.

     That leaves the Chamber of Commerce of the United States (“U.S.

Chamber”) and the American Bankers Association (“ABA”). These two

Plaintiffs each submitted a declaration that discusses injuries

purportedly suffered by pseudonymously identified members. ROA.225-

26, 233-34. But vague references to “Member A” or “Member B” are not

enough to establish standing. That is because the best reading of




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Summers is that a plaintiff-association must, at least at final judgment,

identify its injured members by name.

     For one, that is what the Supreme Court said. The Summers

decision explicitly recognized a “requirement of naming … affected

members.” 555 U.S. at 498 (emphasis added). When an association

references a member by pseudonym, it has not named the member

because the pseudonym is not the member’s actual name. As the Second

Circuit recently explained, in Summers, “the Supreme Court said what

it meant and meant what it said.” Do No Harm, 96 F.4th at 116.

     And, if there were any doubt, the Summers Court’s reliance on

FW/PBS, 493 U.S. 215, makes clear that an affidavit’s reference to

injuries purportedly suffered by an unnamed third party is not enough

for standing. There, the plaintiffs premised their standing, in part, on

an affidavit stating that two specific (albeit unnamed) businesses had

licenses revoked as a result of the challenged ordinance. That affidavit

was insufficient to prove standing at summary judgment because it

“fail[ed] to identify the individuals whose licenses were revoked.” Id. at

216. Or as the Supreme Court later put it, the affidavit was insufficient

“because it did not name the individuals who were harmed by the


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challenged license-revocation program.” Summers, 555 U.S. at 498. At

bottom, reading Summers as allowing a plaintiff-association to

establish standing on the basis of injuries to unnamed members “would

ignore the decision’s clear language and undermine the Supreme Court

precedent upon which it relied.” Do No Harm, 96 F.4th at 116.

     This reading of Summers is consistent with the overwhelming

weight of authority. In the fifteen years since Summers was decided,

the courts of appeals have faithfully followed its direction and required

plaintiff-associations to name their injured members in order to show

standing at summary judgment. E.g., Do No Harm v. Pfizer Inc., 96

F.4th 106, 118 (2d Cir. 2024); Religious Sisters of Mercy v. Becerra, 55

F.4th 583, 601 (8th Cir. 2022); Tenn. Republican Party v. SEC, 863 F.3d

507, 520 (6th Cir. 2017).

     As noted above, two courts of appeals have recently held that a

plaintiff-association can sometimes satisfy Summers by identifying its

injured members using pseudonyms. See Speech First, 92 F.4th 947;

Fearless Fund, 103 F.4th 765. But both cases pertain only to what is

required to show standing at the outset of the litigation. In Speech

First, the Tenth Circuit held that pseudonyms can be sufficient to


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establish standing “at the pleading stage” where the plaintiff’s “burden

in establishing standing is lightened considerably.” 92 F.4th at 950 n.1

(quotation omitted). Likewise, in Fearless Fund, the Eleventh Circuit

held that pseudonyms can be sufficient to establish standing to seek a

preliminary injunction, 103 F.4th at 773, and, in the Eleventh Circuit,

the pleading standard is used to assess standing on a preliminary

injunction motion, see Speech First, Inc. v. Cartwright, 32 F.4th 1110,

1119 (11th Cir. 2022). Neither case stands for the proposition that a

plaintiff-association’s members may conceal their identity from the

opposing party and the court all the way through final judgment.

     Speech First and Fearless Fund are consistent with a line of cases

holding that the naming requirement does not apply with full force at

the pleading stage. E.g., Nat’l Council of La Raza v. Cegavske, 800 F.3d

1032, 1041 (9th Cir. 2015). As a result, “whether an organizational

plaintiff asserting associational standing need specifically identify an

injured member at the pleading stage is unsettled and at the center of a

circuit split.” Cal. Rest. Ass’n v. City of Berkeley, 89 F.4th 1094, 1116

(9th Cir. 2024) (Baker, J., concurring). But “no such uncertainty exists

at summary judgment.” Id. Summers was decided after trial, and “at


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summary judgment or trial an organizational plaintiff is undoubtedly

obligated to identify one or more of its injured members—among other

‘specific facts’ detailing the nature of their asserted injury.”3 Id.

       Here, the only Plaintiff that identified any of its members by

name is the Consumer Bankers Association (“CBA”). But the CBA

submitted a public list of all of its corporate members. ROA.245-54. (It

also indicated which of those members, based on public data, are

subject to CFPB supervision. ROA.261.) The problem is that by listing

all of its members, regardless of whether those members purported to

have been injured by the Manual Update, CBA failed to “make specific

allegations establishing that at least one identified member” would

have standing to sue on its own. Summers, 555 U.S. at 498 (emphasis



   Advoc. for Highway & Auto Safety v. Fed. Motor Carrier Safety
3 In

Admin., 41 F.4th 586 (D.C. Cir. 2022), the D.C. Circuit held that a
plaintiff-association may not need to name a specific injured member
where the standing of one of its members is “apparent from the
administrative record.” Id. at 593 (quoting Twin Rivers Paper Co. v.
SEC, 934 F.3d 607, 613 (D.C. Cir. 2019)). That case is inapplicable here
because, among other reasons, Plaintiffs do not claim that the “record
establishes” that any members “have standing in their own right.” Id.
Plaintiffs rely entirely on extra-record affidavits offering only
“unsubstantiated generalizations” about the effect of the Manual
Update on their members. Id. That is not enough to establish standing
at summary judgment.

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added). The CBA’s declaration does not attest that all of its members (or

even all of its members subject to CFPB supervision) have been injured

by the Manual Update. Summers requires a plaintiff-association to

name a specific member that has been injured by the challenged

conduct. It is not enough to attach the association’s membership rolls,

leaving the court to guess which if any of the members would have

standing to sue in their own right.

     The district court granted Plaintiffs summary judgment and

entered a permanent injunction binding a federal agency in perpetuity

without ever knowing the identities of the real parties in interest. That

holding finds no support in the caselaw.

           2.    Even if a plaintiff-association can identify its injured
                 members using pseudonyms, Plaintiffs have still failed
                 to show standing.

     Even assuming pseudonyms can sometimes suffice, Plaintiffs’

summary judgment evidence still falls far short of establishing

Plaintiffs’ standing. In Summers, the Supreme Court held that courts

cannot “accept[] … organizations’ self-descriptions of their membership,

on the simple ground that no one denies them.” 555 U.S. at 499 (cleaned

up). That’s because courts have “an independent obligation to assure


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that standing exists, regardless of whether it is challenged by any of the

parties.” Id. And “[w]ithout individual affidavits,” the Supreme Court

questioned “how…the court [is] to assure itself” of each of the facts

necessary to establish that one or more of the organization’s members

actually suffered an Article III injury. Id.

     In this case, as in Summers, the plaintiff organizations cannot

demonstrate standing based merely on the organizations’ say-so. In

holding otherwise, the district court relied on declarations from the

organizations’ representatives that lacked competent evidence

establishing that one or more specific members of each organization had

standing.

                 a.     Plaintiffs have failed to submit competent
                        evidence proving standing.

     At summary judgment, a plaintiff-association must “submit

affidavits or other evidence showing, through specific facts, … that one

or more of [its] members would thereby be ‘directly affected” by the

challenged conduct. Lujan v. Defs. of Wildlife, 504 U.S. 555, 563 (1992)

(cleaned up). To meet this burden, a plaintiff-association must submit

evidence from its members proving their own injuries. Summers, 555

U.S. at 497, 499; see also All. for Hippocratic Med. v. FDA, 78 F.4th

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210, 234–35 (5th Cir. 2023), rev’d on other grounds, 602 U.S. 367

(2024).

     This rule makes sense. It is well established that Article III

standing “must be supported in the same way as any other matter on

which the plaintiff bears the burden of proof, i.e., with the manner and

degree of evidence required at the successive stages of the litigation.”

Lujan, 504 U.S. at 555. It is also well-established that “[h]earsay is not

competent summary judgment evidence.” Miller v. Michaels Stores,

Inc., 98 F.4th 211, 218 (5th Cir. 2024). A declaration from a plaintiff-

association relaying a secondhand description of injuries purportedly

suffered by the association’s members is a paradigmatic example of

inadmissible hearsay. See Fed. R. Evid. 801(c).

     Here, none of the Plaintiffs has submitted competent summary-

judgment evidence proving that any of their members has been injured.

Each of the Plaintiff associations submitted a declaration from one of its

executives providing a secondhand description of its members’

purported injuries. ROA.219-94. None of the declarants have firsthand

knowledge of the purported injuries: they are simply relaying what they

have been told. E.g., ROA.239 (attesting that the declaration is based on


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“information provided by … members”). These hearsay declarations

offer nothing more than Plaintiffs’ “self-descriptions,” Summers, 555

U.S. at 497, 499, of their members’ purported injuries. They are

therefore insufficient to establish standing.

     Even if Plaintiffs’ hearsay declarations were appropriately

considered at summary judgment, they are insufficient to establish the

elements of standing with respect to any of Plaintiffs’ members.4 The

“irreducible constitutional minimum” of standing comprises three

elements, namely (i) that Plaintiff has suffered an injury in fact (ii) that

is fairly traceable to the challenged conduct of the defendant, and

(iii) that is likely to be remedied by a favorable order from the court.

Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016). To establish an injury

in fact, a plaintiff must show that it suffered “an invasion of a legally

protected interest” that is “concrete and particularized” and “actual or

imminent, not conjectural or hypothetical.” Id. at 339. Federal courts

don’t “adjudicate hypothetical … disputes.” TransUnion, 594 U.S. at




4 Their claims are not ripe for the same reason.   Miss. State Democratic
Party v. Barbour, 529 F.3d 538, 545 (5th Cir. 2008) (demonstrating that
standing and ripeness inquiries overlap with regard to concreteness of
harm).
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423. When a Plaintiff raises a pre-enforcement challenge to a law based

on a threat of enforcement by the government, to establish standing, it

must demonstrate a “serious intention to engage in conduct proscribed

by law,” Zimmerman v. City of Austin, 881 F.3d 378, 389 (5th Cir.

2018), or the expenditure of resources to avoid a concrete and imminent

prospect of government enforcement, Clapper v. Amnesty Int’l USA, 568

U.S. 398, 416–18 (2013). Otherwise, a plaintiffs’ claimed injury based on

the threat of enforcement is purely “conjectural or hypothetical,”

Spokeo, 578 U.S. at 339, and a claimed injury based on compliance costs

is self-inflicted, Clapper, 568 U.S. at 418.

     Plaintiffs’ declarations make a variety of generic assertions about

how the Manual Update is resulting in increased compliance costs for

supervised entities. For example, the U.S. Chamber’s declaration

vaguely attests that unnamed members “have already begun complying

… by expanding their UDAAP compliance systems … to include

nondiscrimination” and “monitoring and reviewing potential

discrimination claims.” ROA.225. The other Plaintiffs’ declarations all

include nearly identical perfunctory language. E.g., ROA.233-34. But at

summary judgment standing must be based on “specific facts.” Lujan,


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504 U.S. at 563. Accordingly, Plaintiffs’ abstract descriptions of how the

Manual Update is leading to increased compliance costs are not enough.

Plaintiffs each need to show a “specific instance” of how the Manual

Update resulted in one of their members suffering “identifiable harm.”

Murthy v. Missouri, 144 S. Ct. 1972, 1996 (2024).

     While some of Plaintiffs’ declarations do offer a few specific

examples of compliance measures taken by their members, these

examples are brief and void of any factual detail necessary to

demonstrate standing. For one of Plaintiffs’ members to have standing

based on compliance measures it took in response to the Exam Manual,

that member would have to establish that the compliance measures

were “fairly traceable” to a future harm that is “certainly impending.”

Clapper, 568 U.S. at 416. But none of the declarations support that

conclusion with respect to any specific Plaintiff member.

     For example, the U.S. Chamber’s declaration states that “Member

B updated its policies, controls, and training materials to include

discrimination considerations for non-credit products.” ROA.225. But

what was that certainly impending harm? The declaration does not say.

To the extent that Member B believed that its new compliance


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measures were needed to prepare for a future CFPB examination based

on the Manual Updates, the court is left to guess whether such an

examination was “certainly impending.” Is Member B subject to the

CFPB’s supervisory authority? If so, will the CPFB examine Member B

soon? And if an examination of Member B were imminent, would that

examination include any inquiry related to discrimination in non-credit

products? Who knows. The Bureau has supervisory authority over

thousands of entities, including payday lenders and large depository

institutions, see 12 U.S.C. §§ 5514, 5515, and while the largest entities

are frequently examined, some smaller entities never have been. And no

exam covers all topics. ROA.301.

     What’s more, the declaration does not establish why Member B

updated its policies. It’s possible—and entirely consistent with the

declaration—that Member B revised its policies because it determined

that it was appropriate for the policies, controls, and training materials

for all of its products to incorporate “discrimination considerations.”

Indeed, the U.S. Chamber has separately emphasized to the D.C.

Circuit that “[t]he Chamber and its members are strongly committed to

the eradication of discrimination from the marketplace, and to ensuring


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that financial services are provided to all consumers in a fair and even-

handed manner.” Br. of the Chamber of Commerce of the U.S. as

Amicus Curiae at 5, Nat’l Ass’n of Mut. Ins. Cos. v. HUD, No. 23-5275,

2024 WL 2078484, *5 (D.C. Cir. May 8, 2024).

     Member B might have also been concerned about the prospect of

actions by other regulators—both state and federal—as well as by

private litigants. Such a concern would have been well-founded because,

as discussed below, a variety of actors have begun probing whether

banks and other financial institutions have violated state or federal law

by utilizing discriminatory de-banking practices. Indeed, it is now

unlawful in Tennessee and Florida for financial institutions to

discriminate on the basis of political viewpoint or religious affiliation.

See Tenn. Code Ann. § 45-1-128; Fla. Stat. Ann. § 655.0323. The fact

that Member B may have had “similar incentive to engage in many of

the countermeasures” with or without the Manual Updates is another

reason why Member B has not established that it has suffered an injury

that is “fairly traceable” to the Updates. Clapper, 568 U.S. at 417.

     Relatedly, it is unclear whether the injury purportedly suffered by

Member B is redressable by an order of the court. If the Manual Update


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were vacated, would Member B rescind its updated policies so that

Member B stops accounting for “discrimination considerations” for its

non-credit products altogether, notwithstanding the risk of actions by

private parties and other regulators and despite being “strongly

committed to the eradication of discrimination from the marketplace”?

Again, the declaration does not say. Thus, not only does the declaration

fail to prove that Member B’s injury was caused by the Manual Update

or hypothetical future supervisory actions, but it also fails to show

redressability.

     The other examples of specific compliance measures taken by

Plaintiffs’ members are all similarly void of facts necessary to prove

standing. In each instance, the declaration asserts that some unnamed

member has undertaken a compliance measure, but never represents

that such member did so to avoid a certainly impending injury and

never represents that the associated compliance costs could be




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remediated through judicial intervention. For that reason alone,

Plaintiffs have failed to show standing.

                 b.    Plaintiffs’ use of pseudonyms frustrates efforts to
                       ascertain their standing.

     Plaintiffs’ use of pseudonyms exacerbates the deficiencies in

Plaintiffs’ showing of standing. To begin, Plaintiffs’ approach made it

impossible for Defendants to rebut Plaintiffs’ standing allegations. Had

the CFPB known the identities of Plaintiffs’ members, it could have

submitted evidence already in its possession or in the public domain

discrediting their asserted injuries. Many financial institutions under

the CFPB’s supervision have made sweeping public commitments to

non-discrimination and are subject to regulation and enforcement by

many other regulators. These institutions claim to be engaged in

extensive efforts to monitor their business practices for discrimination

for reasons that have nothing to do with the Manual Update.

Accordingly, one could reasonably doubt Plaintiffs’ assertion that their

members have incurred new compliance costs as a result of the Manual

Update above and beyond their existing anti-discrimination efforts or

that judicial relief would reduce any such costs. But because Plaintiffs’



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members were allowed to conceal their identifies, the CFPB was denied

the opportunity to disprove their purported injuries.

     The district court compounded that error by concluding that “the

evidence of plaintiffs’ standing is uncontested” because the CFPB did

not “serve[] discovery requests seeking the names of plaintiffs’ members

who are suffering costs from the new manual provisions.” ROA.3096.

But the court overlooked that the CFPB did request “[l]imited

jurisdictional discovery” in order “to determine whether Plaintiffs’

members have been injured by the manual update.” ROA.1809. In any

event, as the Supreme Court held in Summers, courts may not accept

organizations’ self-descriptions of their membership on the ground that

no one denies them. 555 U.S. at 499. Based on the record before it, the

district court was in no position to assure itself that Plaintiffs had, in

fact, identified a member who suffered the requisite harm. See Do No

Harm, 96 F.4th at 117 n.6.

           3.    The district court’s approach undercuts the
                 presumption in favor of open proceedings.

     The district court asserted jurisdiction to issue a permanent

injunction based on factually insubstantial hearsay declarations

attesting to injuries purportedly suffered by Plaintiffs’ unnamed

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members. Allowing the real parties in interest to remain anonymous

through final judgment is inconsistent with the well-established

presumption of open access to judicial proceedings, e.g., June Med.

Servs., L.L.C. v. Phillips, 22 F.4th 512, 519–22 & n.5 (5th Cir. 2022).

     Generally, given the importance of open judicial proceedings,

plaintiffs must “disclose their names” in order “to commence a lawsuit.”

Doe v. Stegall, 653 F.2d 180, 185 (5th Cir. 1981) (citing Fed. R. Civ. P.

10(a)); see, e.g., Doe v. McKesson, 945 F.3d 818, 835 (5th Cir. 2019),

rev’d on other grounds, 592 U.S. 1 (2020). The interest in open

proceedings does not disappear as soon as associational standing is

invoked. And while the Plaintiff associations are identified by name,

their members—the real parties in interest—are not. Of course, there

may be times when a plaintiff-association’s members are entitled to

anonymity. But consistency demands that those members be required to

make the same showing that would be required of them had they

brought suit on their own. See Do No Harm, 96 F.4th at 117 (explaining

that it would be “incongruous” to “allow an association to rest its

standing on anonymous member declarations when we would not allow

those members…to proceed anonymously to the court in their own


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right”). Indeed, under Fifth Circuit law, parties cannot litigate

anonymously based on “generalized concerns,” June Med., 22 F.4th at

520 n.5, yet Plaintiffs offer nothing else, ROA.1762.

     Ultimately, the district court’s holding exacerbates existing

“tension between associational standing and other areas of the law.”

FDA v. All. For Hippocratic Med., 602 U.S. 367, 402 (2024) (Thomas, J.

concurring). As Justice Thomas recently explained, associational

standing doctrine arguably operates to create a set of rules for plaintiff-

associations that materially differ from the rules that apply to

individual litigants. Id. Allowing associational standing to become a tool

litigants can employ to avoid revealing their identities and to evade

public scrutiny of judicial proceedings would simply make this problem

worse.

     B.      Venue is Improper in the Eastern District of Texas.

     Even if the Court finds that one or more Plaintiffs have standing,

this case must nonetheless be dismissed for improper venue. That is

because the only Plaintiff that resides in the Eastern District of Texas—




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the Longview Chamber—has failed to show standing, and dismissal is

proper when the venue-creating plaintiff lacks standing.

           1.   The only plaintiff that resides in the district does not
                have standing.

     The Longview Chamber has failed to show Article III standing for

all of the reasons stated above—and one more. First, the Longview

Chamber’s declaration, ROA.272–79, fails to name the members on

whose behalf it brought suit. See § I.A.1. Second, while the Longview

Chamber’s declaration refers vaguely to its “members,” it never

identifies (even by pseudonym) a member that has been injured by the

Manual Update. See § I.A.1. Third, the only evidence the Longview

Chamber submitted in support of its standing is a declaration from its

own president providing a secondhand account of injuries purportedly

suffered by the association’s members. See § I.A.2. Fourth, the

Longview Chamber’s declaration does not prove the elements of

standing as to any of its members. See § I.A.2.

      There is one additional point: The failure of the Longview

Chamber to name its members not only runs afoul Summers, but it also

prevents the Court from determining whether “the interests it seeks to

protect are germane to the organization’s purpose.” Hunt, 432 U.S. at

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343; see also Young Conservatives of Tex. Found. v. Smatresk, 73 F.4th

304, 309 n.2 (5th Cir. 2023). The Longview Chamber asserts that its

purpose is “to enhance economic growth of the Longview trade area.”

ROA.272. But the allegedly injured members, whose interests it seeks

to protect, may be far-flung financial institutions with no ties to

Longview who joined the Longview Chamber to facilitate this suit. The

Court has no way of knowing given the Longview Chamber’s

stonewalling.

           2.    Because the plaintiff on which venue is purportedly
                 based lacks standing, the case must be dismissed.

     Venue is only proper in the Eastern District of Texas if the

Longview Chamber is a proper party to the litigation. Plaintiffs contend

that venue is proper under 28 U.S.C. § 1391(e)(3), which provides that a

civil action against a federal defendant may generally be brought in any

district where a plaintiff resides. But the only Plaintiff that resides in

the Eastern District of Texas, the Longview Chamber, lacks standing.

And the venue-creating plaintiff “must have standing.” Clark & Reid

Co. v. United States, 804 F.2d 3, 5 (1st Cir. 1986).

     Venue cannot be predicated on the inclusion of a party that lacks

Article III standing. That principle is uncontroversial. See Miller v.

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Albright, 523 U.S. 420, 426–27 (1998). Federal courts consistently

transfer or dismiss cases where the venue-creating plaintiff failed to

show standing. See, e.g., Ga. Republican Party v. SEC, 888 F.3d 1198,

1202–05 (11th Cir. 2018); Clark & Reid Co., 804 F.2d at 5–7; Assoc.

Gen. Contractors of Am., Inc. v. Fed. Acquisition Regul. Council, No.

6:24-cv-00037, 2024 WL 1078260, at *7–9 (W.D. La. Mar. 12, 2024).

Here, because the Longview Chamber lacks standing, the case should

be dismissed for improper venue.

     C.    Plaintiffs Lack Standing to Challenge Hypothetical
           Supervisory and Enforcement Actions and to Recover for
           Unharmed Associations and Members.

     Plaintiffs lack standing to seek declaratory and injunctive relief

with respect to hypothetical supervisory and enforcement actions. Their

claims for such relief are unripe for similar reasons. In addition,

Plaintiffs lack standing to sue on behalf of unharmed associations and

members.

     To begin, even if one thinks that Plaintiffs had standing to

challenge the Manual Update, e.g., because of a lack of notice and

comment rulemaking, they do not have standing to obtain declaratory

and injunctive relief with respect to the Bureau’s statutory authority to


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bring hypothetical supervisory and enforcement actions: “[S]tanding is

not dispensed in gross; rather, plaintiffs must demonstrate standing for

each claim that they press and for each form of relief that they seek.”

TransUnion, 594 U.S. at 431. And the doctrine of constitutional

ripeness contains the same limitation on jurisdictional bootstrapping.

Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 893 (1990).

     Plaintiffs’ allegations do not suffice to secure standing to challenge

hypothetical supervisory or enforcement actions. They assert that their

members have been required to incur certain prophylactic compliance

costs to avoid supervisory and enforcement actions. See, e.g., ROA.26.

But Plaintiffs do not claim that any member intends to engage in a

course of conduct that is even arguably proscribed by § 5531. Thus,

Plaintiffs have not demonstrated that, without bearing the alleged

compliance costs, they would otherwise face “certainly impending”

enforcement by the CFPB. Any compliances costs expended to avoid

enforcement, then, are non-cognizable self-inflicted injuries. Clapper,

568 U.S. at 416. Their claims for declaratory and injunctive relief are

unripe for the similar reasons.




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     Even assuming that some members of some Plaintiffs did have

standing to seek declaratory and injunctive relief with respect to

hypothetical future supervisory or enforcement actions (they don’t), that

would still not permit granting that relief to Plaintiffs (or members of

Plaintiffs) that have not demonstrated such standing. With respect to

vacatur of the March 2022 updates, it does not matter how many

entities have standing because, under this Court’s precedent, vacatur is

universal.5 See, e.g., Career Coll. & Sch. of Tex. v. United States Dep’t

of Educ., 98 F.4th 220, 255 (5th Cir. 2024). But the same is not true of

injunctive relief. The Bureau’s conduct would be constrained with

respect to a different number of parties depending on how many

Plaintiffs (and how many of Plaintiffs’ members) have standing. See

TransUnion, 594 U.S. at 431. Thus, at a minimum, the Court should

vacate the entry of declaratory and injunctive relief in favor of any

Plaintiffs (and, by extension, their members) who do not have standing.




5 The United States has challenged the conclusion that the authority to

set aside final agency actions under the APA authorizes universal relief,
Pet. Br., United States v. State of Tex., 2022 WL 4278395, at *40 –44,
but this Court has concluded otherwise and, in any case, need not
address that issue here.
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     Similarly, the injunction sweeps too broadly because it applies to

association members without standing, i.e., uninjured members. See

ROA.3109–3110. An association has standing to sue if, among other

things, “its members would otherwise have standing to sue in their own

right.” Hunt, 432 U.S. at 343. But that one or two members may have

standing is not a license to issue an injunction that applies to other

members who would not have had standing. An injunction for the

unharmed is inconsistent with Article III. See Warth v. Seldin, 422 U.S.

490, 515 (1975) (“If in a proper case the association seeks…[an]

injunction…it can reasonably be supposed that the remedy…will inure

to the benefit of those members of the association actually injured.”).

Moreover, by its very nature, associational standing is in tension with

Article III standing requirements. Hippocratic Med., 602 U.S. at 397

(Thomas, J., concurring). Extending injunctive relief to uninjured

members would only make things worse. The injunction, if not vacated

entirely, should be limited to members with standing.




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II.   The Bureau has Statutory Authority to Treat Discriminatory Acts
      and Practices as Unfair, and the Bureau’s Funding Statute is
      Constitutional.

      The district court’s holding that the Bureau lacks the statutory

authority to treat discriminatory acts or practices as unfair under 12

U.S.C. § 5531 is flawed. The holding that the Bureau’s funding statute

violates the Constitution is no better. The Court should reverse.

      A.    The District Court’s Holding that the Bureau Lacked
            Statutory Authority is Flawed.

            1.    The CFPA authorizes treating discrimination as
                  unfair.

      Without the gloss of the major questions doctrine (which does not

apply anyway, see below), discriminatory acts and practices can clearly

satisfy § 5531’s standard for unfairness. We start our discussion with

the text of the statute. Section 5531 provides that the Bureau can

declare an act or practice unfair if it satisfies three criteria: 1) “the act

or practice causes or is likely to cause substantial injury to consumers”;

2) the injury is not “reasonably avoidable by consumers”; and 3) the

“injury is not outweighed by countervailing benefits to consumers or to

competition.” 12 U.S.C. § 5531(a), (b). It also states that when

“determining whether an act or practice is unfair, the Bureau may


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consider established public policies as evidence to be considered with all

other evidence,” though “public policy considerations may not serve as a

primary basis for such determination.” Id. § 5531(c)(2).

     As a textual matter, a discriminatory act or practice could satisfy

the statutory standard for unfairness. A discriminatory act—such as

debanking a Christian based on their religion—could cause a

substantial injury (the loss of banking services, for example), which is

not reasonably avoidable (discrimination is rarely advertised), and

which offers no benefit to consumers or competition (limiting

consumers’ options based on irrelevant criteria certainly would not aid

consumers or the market). Under the district court’s logic, the Bureau

could not even investigate this intentional religious discrimination to

determine if it’s unfair. But here Congress created no exception to

unfairness for discriminatory acts or practices, see id. § 5531, and it was

not the district court’s job to create one, see, e.g., Spivey v. Chitimacha

Tribe of Louisiana, 79 F.4th 444, 447 (5th Cir. 2023) (“Congress’s

omission of any exceptions emphatically forbids us from writing [an] …

exception into the statute.”).




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     Creating an atextual exception to the statutory standard for

unfairness would flout Congress’s decision to establish unfairness as a

broad concept, encompassing (among other things) “unfair practices

that have not yet been contemplated by more specific laws” and

“practices [that] violate some other statute that the [agency] lacks

authority to administer.” FTC v. Accusearch Inc., 570 F.3d 1187, 1194–

95 (10th Cir. 2009). Indeed, Congress has declined to “enumerat[e] the

particular practices to which [unfairness] was intended to apply,”

Sperry & Hutchinson Co., 405 U.S. at 239–40, because there are “too

many unfair practices to define, and after writing 20 of them into the

law it would be quite possible to invent others,” S. Rep. No. 63–597, at

13 (1914); see also, e.g., ROA.100–101 (providing examples of conduct

that has been deemed unfair by other regulators, including refusing to

release a lien after all payments were made). In addition, it would be

particularly odd for unfairness to silently exclude discrimination

because dictionary definitions of the term “discrimination” establish

that it has long referred to acts thought to be unfair. Jeff Sovern, Is

Discrimination Unfair?, U of Maryland Legal Studies Research Paper




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No. 2024–02 (forthcoming in Georgia St. Law Rev.), at 28 (May 27, 2024

draft), https://papers.ssrn.com/sol3/papers.cfm?abstract_id=4712271.

      Moreover, the consideration of established public policy, in accord

with 12 U.S.C. § 5531(c)(2), reinforces the conclusion that there is no

discrimination exception to the unfairness standard. The consideration

of established public policy “tethers…unfairness judgments to the

values that Congress and the courts have articulated elsewhere.”

Dennis D. Hirsch, From Individual Control to Social Protection: New

Paradigms for Privacy Law in the Age of Predictive Analytics, 79 Md. L.

Rev. 439, 489 (2020) (addressing unfairness under nearly identical FTC

authority). Established public policies, “used in this context, mean

policies that are widely followed, and embodied in statutes, judicial

decisions, or the Constitution.” Id. (cleaned up). And “it is difficult to

identify a public policy more established than that against

discrimination.” Sovern, Is Discrimination Unfair?, at 36. Indeed,

Congress has expressed its disapproval of many forms of discrimination,

including in consumer transactions, by outlawing them. See, e.g., 15

U.S.C. § 1691 (prohibiting discrimination in credit transactions on,

among other grounds, “race, color, religion, national origin, sex or


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marital status, or age”); 42 U.S.C. § 1981 (prohibiting racial

discrimination in contracting), 42 U.S.C. § 2000a (prohibiting race,

color, national origin, and religious discrimination in public

accommodations), id. § 2000a-1 (prohibiting race, color, national origin,

and religious discrimination “at any establishment or place” when the

discrimination is required by state or local law), id. § 2000e-2

(prohibiting adverse employment actions based on an employee’s “race,

color, religion, sex, or national origin”).

      History too supports the conclusion that unfairness under § 5531

can encompass discriminatory acts or practices. As noted earlier, the

unfair act or practice language is drawn from the FTC Act, 15 U.S.C.

§ 45(n). And decades ago, the FTC concluded that a discriminatory act

or practice could be unfair. In 1968, the Commission declined to

recognize an exception to the prohibition on deception—the FTC Act,

like the CFPA, specifies that deceptive practices are prohibited, 15

U.S.C. § 45(n)—for conduct that may also be discriminatory. See In re

First Buckingham Cmty., Inc., 73 F.T.C. 938, Docket 8750, at *7 (1968).

This decision provides more than just inferential support for the

conclusion that there is no exception to unfairness for discrimination;


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unfairness and deception are not just two concepts mentioned in the

same statutory provision, see 12 U.S.C. § 5531(a). Instead, the FTC has

long recognized deception as a subset of unfairness. See In re Int’l

Harvester Co., 104 F.T.C. 949, 1060 (1984) (“[U]nfairness is the set of

general principles of which deception is a particularly well-established

and streamlined subset.”). Buckingham, then, is a decision about

unfairness—a fact the FTC explicitly recognized in In re Pfizer Inc., 81

F.T.C. 23, 27 n.5 (1972). And the upshot is this: the FTC made clear

decades ago that discriminatory acts or practices can be unfair.

     Other agencies have reached the same conclusion as the FTC

about discrimination and unfairness. The Department of

Transportation (DOT), applying an unfairness provision (49 U.S.C.

§ 41712(a)) modeled on the Federal Trade Commission’s, see Am.

Airlines, Inc. v. N. Am. Airlines, Inc., 351 U.S. 79, 82 (1956), has

interpreted the prohibition on unfair acts and practices to apply to

discrimination. See, e.g., United Air Lines, Inc., No. OST-2003-14194,

Order 2003-11-13, at 1 (DOT Nov. 19, 2003), 2003 WL 25425041;

Continental Airlines, Inc., No. OST 2004-16943, Order 2004-4-4, at 1

(DOT Apr. 2, 2004), 2004 WL 720318. And the Federal Reserve Board


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and the Federal Deposit Insurance Corporation concluded, in 2004, that

“[u]nfair or deceptive practices that target or have a disparate impact

on consumers who are members of these protected classes may violate

… the FTC Act.” ROA.2797.

     Taken together, this history establishes that, by 2010, when

Congress enacted § 5531, agencies with unfairness authority had, over

many years, consistently interpreted “unfairness” to encompass

discriminatory acts and practices. See Lorillard v. Pons, 434 U.S. 575,

580 (1978). In light of the text and history of the statute, then, the

CFPB’s interpretation that unfairness can encompass discriminatory

acts and practices is the right one.

     The arguments to the contrary are unconvincing. The district

court held there was no clear statutory authorization to treat

discrimination as unfair because the “Dodd–Frank Act treats

discrimination and unfairness as distinct concepts,” the “statutory

definition of ‘unfairness’ makes no mention of discrimination,” and the

history of the text does not “refute [the] ambiguity” about the scope of

unfairness provision. ROA.3100–03. It is wrong about each point.




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     Start first with the “distinct concepts” point. The district court

highlighted that when establishing the agency’s objectives, Congress

treated unfairness and discrimination as separate concepts, by

authorizing the Bureau to protect consumers from “unfair, deceptive or

abusive acts and practices and from discrimination,” 12 U.S.C.

§ 5511(b)(2) (emphasis added). ROA.3100. To be sure, discrimination is

a distinct concept from unfairness. Distinct does not mean mutually

exclusive, however, and the court’s holding depends on the concepts

being mutually exclusive (i.e., that discrimination cannot be unfair).

The district court’s opinion offers no support for the proposition that

“and” in § 5531 indicates that the item that follows is mutually

exclusive from the ones that precede it. Use of the word “and” does not,

as a logical matter, denote mutual exclusivity. For example, if a person

states that they like “juice, coffee and milk,” one would not assume that

the person only drinks their coffee black. See Nebraska, 143 S. Ct. at

2380 (Barrett, J.,concurring) (explaining that context, including

“commonsense principles of communication,” can help define scope of

delegation). Importantly, courts have recognized that the other distinct

concepts in the statute overlap, namely, the distinct prohibitions in


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§ 5531 on unfair conduct and deceptive conduct. See, e.g., FTC v.

Wyndham Worldwide Corp., 799 F.3d 236, 245 (3d Cir. 2015) (collecting

cases discussing the overlap).

     That the statutory definition of “unfairness” does not explicitly

mention discrimination is similarly unpersuasive. As noted above,

unfairness is a broad concept, the statute does not specifically

enumerate any unfair practices, and there is no exception for

discrimination. The best interpretation of the statute, then, is that

“unfairness” encompasses discrimination.

     Finally, the district court concluded that the history of the text did

not refute the ambiguity that it had identified. ROA.3102–03. It

explained that “legal views on the FTC Act’s ‘unfairness’ definition have

changed over the decades, leaving it unclear that Congress meant to

adopt a broad view on that major question in the Dodd–Frank Act.” Id.

According to the district court, “[a]t times, the FTC has … stat[ed] that

the principal focus of our unfairness policy is on the maintenance of

consumer choice or consumer sovereignty…” ROA.3102 (cleaned up).

     The district court was wrong. Prior to 2011, the FTC may have

varied its approach to unfairness in certain ways, including by shifting


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the focus from consumer choice to equity. See id. But any variance was

not relevant to whether discrimination could be considered unfair. As

discussed above, the FTC—and other agencies implementing similar

unfairness authority—consistently understood unfairness to encompass

discrimination, from the 1970s through 2010. See § II.A.1. This makes

sense. Not only is invidious discrimination inequitable, but it also

deprives consumers of choice. If a bank refuses to open an account for

an African American because of their race or a Christian because of

their religion, then that individual is deprived of a free choice, given to

otherwise similarly situated consumers, about where to hold their

money.

            2.   The major questions doctrine focuses on questions of
                 great economic and political significance.

     The district court did not rest its analysis on the text, however.

Instead, the district court invoked the major questions doctrine.

ROA.3098. The major questions doctrine provides that there are certain

“extraordinary cases” in which the “history and the breadth of the

authority that the agency has asserted” and the vast “economic and

political significance” of the assertion of authority by the agency

“provide a reason to hesitate before concluding that Congress meant to

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confer such authority.” W. Virginia v. Env’t Prot. Agency, 597 U.S. 697,

721 (2022) (cleaned up). The “hestitat[ion]” manifests itself in a

requirement that “the agency…point to clear congressional

authorization for the power it claims.” Id. at 723 (quotation marks

omitted). Neither the Supreme Court nor this Court has provided a firm

definition of what level of economic significance suffices to support

invocation of the doctrine, but the cases invoking economic significance

have involved billions of dollars in expenditures (by the government or

regulated entities) and/or a fundamental restructuring of a sector of the

economy. See, e.g., Biden v. Nebraska, 143 S. Ct. 2355, 2373 (2023)

(estimating that the agency’s action would “cost taxpayers between

$469 billion and $519 billion”) (cleaned up); BST Holdings, L.L.C. v.

Occupational Safety & Health Admin., 17 F.4th 604, 617 (5th Cir. 2021)

(concluding that “nearly $3 billion in compliance costs” supported

invocation of the doctrine when combined with numerous other factors

supporting its application). To determine whether a question is of

sufficient political significance to support the invocation of the doctrine,

the Supreme Court has looked at whether it is a “matter of earnest and




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profound debate across the country.” Nebraska, 143 S. Ct. at 2374

(cleaned up).

     Courts have identified other factors, accompanying the questions

of economic and political significance, that may indicate the presence of

a major question, including whether the authority asserted by the

agency (i) “intrudes into an area that is the particular domain of state

law,” Alabama Ass’n of Realtors v. Dep’t of Health & Hum. Servs., 594

U.S. 758, 764 (2021), (ii) constitutes a “transformative expansion in [its]

regulatory authority,” Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 324

(2014), and (iii) falls inside the agency’s realm of expertise, W. Virginia,

597 U.S. at 729.

     If the major questions doctrine applies, then “the Government

must…point to clear congressional authorization to regulate in that

manner.” W. Virginia, 597 U.S. at 732 (quotation marks omitted). That

said, none of the major question doctrine cases “requires an unequivocal

declaration from Congress authorizing the precise agency action under

review, as our clear-statement cases do in their respective domains.”

Nebraska, 143 S. Ct. at 2378 (Barrett, J., concurring).




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           3.    The district court misapplied the major questions
                 doctrine.

     The district court erred in concluding that the Bureau lacks the

authority to determine that a discriminatory act or practice is unfair,

even if it satisfies the express terms of § 5531’s unfairness test. The

court concluded that subjecting discriminatory acts and practices to

§ 5531’s unfairness test necessarily raises a major question. ROA.3098.

This holding can stand only if applying § 5531 to such acts or practices

always presents a major question. See Reno, 507 U.S. at 301 (holding

that a facial challenge based on a lack of statutory authority requires

showing no valid application). But that’s not the case. As the district

court otherwise recognized, the law provides many different standards

for discrimination, with different protected bases, intent requirements,

and defenses.6 ROA.3099–3100. Thus, not every application of § 5531 to

discriminatory conduct is the same, and the major questions doctrine

analysis depends on specific authority asserted by the Bureau under



6 And, in many cases, discrimination involves arbitrary treatment

lacking a rational basis. See, e.g., Del Casal v. E. Airlines, Inc., 634 F.2d
295, 301 (5th Cir. 1981) (“[D]iscrimination against nonmember
employees who are part of the bargaining unit is impermissibly
arbitrary if no relevant distinctions exist between the union and
nonunion employees.”)
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§ 5531. Would it be a major question for the Bureau to conclude that it

was unfair for a bank to intentionally charge a consumer a higher fee

based on their race? What about debanking a consumer because of their

religion? There are more potential hypotheticals. But the point is clear:

whether applying § 5531 to a discriminatory act or practice would

trigger the major questions doctrine does not lend itself to a one-size-

fits-all solution. And many assertions of authority related to the

application of unfairness to discriminatory conduct come nowhere close

to implicating the doctrine. Thus, the district court’s holding that the

Bureau lacks the statutory authority to ever assess whether

discrimination is unfair is wrong. And, in any case, Congress

authorized the Bureau to treat discriminatory conduct as unfair.

                 a.    Applying § 5531 to discrimination does not raise
                       questions of vast economic or political
                       significance.
     We start first with economic considerations. Plaintiffs and the

court lump all possible, theoretical agency assertions of discriminatory-

unfairness authority together when considering economic costs. This

flawed approach overestimates the relevant compliance costs. Under

the major questions doctrine, the question is whether a specific


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challenged assertion of authority presents a major question, not

whether all similar possible assertions considered together do. Cf.

Bradford v. U.S. Dep’t of Lab., 101 F.4th 707, 725 n.5 (10th Cir. 2024).

It was wrong therefore for the district court to bar the Bureau from,

among other things, bringing any supervisory or enforcement action

under § 5531 for intentional racial or religious discrimination based on

the district court’s concern about the costs of hypothetical assertions of

agency authority involving disparate impact.

     In any case, even when conflating these various costs, Plaintiffs

don’t contend that treating discrimination as unfair would lead to

billions in compliance costs. They argue only that it would lead to

millions in costs, a claim that the district court echoed. See ROA.208,

3098. But even if Plaintiffs had provided an adequate basis to support

the proposition that their members will incur millions of dollars in

compliance costs (which they have not), that would not be enough to

support the invocation of the major questions doctrine, which is

reserved for assertions of authority of “vast economic…significance,”

Util. Air, 573 U.S. at 324. See Rest. L. Ctr. v. United States Dep’t of

Lab., 2023 WL 4375518, at *13 (W.D. Tex. July 6, 2023) (determining


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that a rule that will impose average annual costs of $183.6 million is

not of vast significance); Fed’n of Americans for Consumer Choice, Inc.

v. United States Dep’t of Lab., 2023 WL 5682411, at *15 (N.D. Tex.

June 30, 2023) (holding that $80 million in annual compliance costs do

not constitute vast significance). Indeed, if millions in expenditure

sufficed, then, given the size and scope of the American economy, the

major questions doctrine would no longer be reserved only for

“extraordinary cases.” W. Virginia, 597 U.S. at 721. Rather, every year,

scores of rules issued by federal agencies could trigger the doctrine,

especially in the financial services industry, where even the smallest

change can lead to millions of dollars in effects, see Fed’n of Ams. for

Consumer Choice, 2023 WL 5682411, at *15.

     From here, things only get worse for Plaintiffs. Take the example

of intentional discrimination. See Reno, 507 U.S. at 301 (holding that

one valid application defeats facial challenge).7 Prominent institutions



7 The district court concluded that the major questions doctrine should

apply, in part, because the “CFPB’s claimed authority to prohibit
disparate-impact discrimination is something that Congress rarely
authorizes[.]” ROA.3099. But, on this facial challenge to the Bureau’s
statutory authority, the relevant question is whether there is any valid
application of § 5531 to discrimination, see Reno, 507 U.S. at 301, and

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have made it clear that they already forbid their employees from

intentionally discriminating on many grounds. For example, in a 2024

proxy statement, Bank of America proclaimed that “the company does

not make decisions regarding its client relationships on the basis of any

client’s political viewpoint, religious affiliation, or other discriminatory

characteristics that would be inconsistent with our Human Rights

Statement.” Bank of America, Proxy Statement, at 99 (March 11,

2024).8 JPMorgan Chase has made a similar proclamation, as have

Citibank and Paypal.9 We presume other institution also similarly



treating (at least) some types of intentional discrimination as unfair
certainly would not raise major questions. This suffices to justify
reversal of the district court’s decision. Hypothetical questions about
the treatment of disparate impact discrimination under § 5531 need not
be resolved in this case.
8Available at https://investor.bankofamerica.com/regulatory-and-other-

filings/all-sec-filings/content/0001193125-24-064529/0001193125-24-
064529.pdf.
9 J.P. Morgan Chase & Co, Annual Meeting of Shareholders Proxy

Statement 2023, 100 (April 4, 2023), https://www.jpmorganchase.com
/content/dam/jpmc/jpmorgan-chase-and-co/investor-
relations/documents/proxy-statement2023.pdf; Citigroup Inc., Citigroup
2024 Notice of Annual Meeting and Proxy Statement, 136 (March 19,
2024), https://www.citigroup.com/rcs/citigpa/storage/public/Citi-2024-
proxy-statement.pdf; PayPal Holdings Inc., Letter from Raquel Fox,
Counsel for Paypal, to SEC, Office of Chief Counsel, re: PayPal
Holdings 2023 Annual Meeting Omission of Shareholder Proposal of the
National Center for Public Policy Research, 9 (Jan. 20, 2023),

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forbid their employees from intentionally discriminating against

customers. Thus, there should be no—or minimal—additional

compliance costs attributable to treating many forms of discrimination

as unfair, and acts of discrimination can be treated as unfair without

imposing vast economic costs.

     Turning from the economic to the political does not aid Plaintiffs’

effort to show that there are no valid applications of § 5531 to

discrimination. See Reno, 507 U.S. at 301. The district court opined that

treating discriminatory acts or practices as unfair under § 5531 is a

major question because it would deprive Congress of the ability to

decide “major questions” related to prohibiting discrimination, such as

“what classes are protected, what outcomes or actions are prohibited,

and defenses to liability.” ROA.3099. But the application of § 5531 to

discrimination does not invariably raise questions of great political

significance. For example, there is no “earnest and profound debate

across the country,” Nebraska, 143 S. Ct. at 2374 (cleaned up), about

whether banks should be allowed to intentionally discriminate on the




https://www.sec.gov/files/litigation/admin/1999/ncpprpaypal041023-
14a8.pdf.
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basis of race or religion. Instead, there is broad agreement, from across

the political spectrum, that such discrimination is improper. See, e.g.,

Letter from Kris. W. Kobach, Kansas Attorney General, et al., to Brian

T. Moynihan, Chairman and CEO, Bank of America (April 15, 2024),

https://ag.ks.gov/docs/default-source/documents/bank-of-america-

letter.pdf; Press Release from Sen. Sherrod Brown, Brown, Senate

Democrats Introduce New Legislation to Combat Discrimination in Our

Nation’s Financial Services Industry (Oct. 21, 2020),

https://www.brown.senate.gov/newsroom/press/release/brown-senate-

democrats-legislation-discrimination-financial-services-industry. The

financial institutions agree with this consensus, as demonstrated by

their anti-discrimination policies. And Congress has made its judgment

clear by outlawing discrimination in many forms over decades.10 See

§ II.A.1.11 To say, that there is a profound debate about the propriety of



10 Indeed, as to race, Congress settled the underlying discrimination

question at issue in this example more than 150 years ago. See 42
U.S.C. § 1981 (outlawing racial discrimination in contracting).
11 The district court also opined that Congress was especially unlikely to

grant the Bureau the authority to treat discrimination as unfair
because of its “anomalous” funding structure, ROA.3099, but the
Supreme Court has since upheld the Bureau’s funding statute, CFSA,
601 U.S. at 421.

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long-repudiated forms of intentional discrimination is simply

implausible. Thus, Plaintiffs cannot show that there are no valid

applications of § 5531 to discrimination. See Reno, 507 U.S. at 301.

      The district court did not limit its assessment of politically

significant questions to federal interbranch relations; it also concluded

that allowing any discriminatory acts or practices to be treated as

unfair would unsettle federal-state relations. See ROA.3099. This

conclusion is incorrect. Under Supreme Court precedent, the operative

question is whether the agency’s action will “intrude[ ] into an area that

is the particular domain of state law.” Alabama Ass'n of Realtors, 594

U.S. at 764. But, for example, treating intentional discrimination on the

basis of race or religion as unfair under § 5531 would not intrude into a

state-centric domain. The vast array of federal anti-discrimination and

consumer protection laws demonstrate that the federal government has

long taken a broad and active role in fighting discrimination and

protecting consumers. See, e.g., FTC Act, 15 U.S.C. § 41 et seq.; Equal

Credit Opportunity Act, 15 U.S.C. § 1591 et seq.; see also § II.A.1.

(listing laws).




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       The district court applied the wrong test. It asked whether

treating discrimination as unfair would “displace the balances struck by

the States” regarding how to handle discrimination. ROA.3099. This

approach would create a kind of reverse field preemption whereby state

law would occupy a field absent a clear statement from Congress. But

the Supreme Court has never indicated that the major questions

doctrine is intended to upend federal-state relations in this way.

Moreover, given the number of areas of overlapping jurisdiction, if the

district court’s test applied, the major questions doctrine would no

longer be reserved for “extraordinary cases,” W. Virginia, 597 U.S. at

721.

       The district court also failed to address two factors that

demonstrate that any application of § 5531 to discrimination would not

raise a major question. First, courts have recognized that the

implementation of existing statutory prohibitions through enforcement

actions does not constitute a “transformative expansion in regulatory

authority,” Util. Air, 573 U.S. at 324. See, e.g., SEC v. Binance, 2024

WL 3225974, at *42 (D.D.C. June 28, 2024); SEC v. Coinbase, 2024 WL

1304037, at *15 (S.D.N.Y. Mar. 27, 2024); FTC v. Kochava Inc., 671 F.


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Supp. 3d 1161, 1180 (D. Idaho 2023). To paraphrase the Coinbase

decision, “[u]sing [supervision and] enforcement actions to address

[discrimination] is simply the latest chapter in a long history of giving

meaning to the [unfairness] laws through iterative application to new

situations.” Coinbase, 2024 WL 1304037, at *15. Second, the treatment

of discriminatory acts or practices as unfair is well within the scope of

the Bureau’s expertise, as Congress has tasked it with policing

unfairness and discrimination in consumer finance, 12 U.S.C.

§ 5511(b)(2). W. Virginia, 597 U.S. at 729 (indicating that the major

questions doctrine is less likely to apply to matters within an agency’s

field of expertise).

                  b.    Congress clearly authorized the Bureau to treat
                        discrimination as unfair.
      Even if there were a major question about whether discriminatory

acts or practices can be treated as “unfair” under § 5531, the district

court’s order would be unwarranted because Congress has provided

“clear congressional authorization to regulate in that manner.” W.

Virginia, 597 U.S. at 732 (quotation marks omitted); see § II.A.1.




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       B.   There Is No Appropriations Clause Violation.

       The district court declared that the Bureau could not treat any

discriminatory acts or practices as unfair because the funding to do so is

distributed in violation of the Appropriations Clause. ROA.3109. The

district court based its holding on CFSA. ROA.3097; CFSA, 51 F.4th at

635–642. But the Supreme Court has reversed CFSA, concluding that

the Bureau’s “funding mechanism complies with the Appropriations

Clause.” CFSA, 601 U.S. at 421. Accordingly, the district court’s

constitutional holding should be reversed.

III.   If Any Relief Were Appropriate, Vacatur Would Suffice, and, in
       Any Case, the Injunctions and Declaratory Relief Are Overbroad.

       If any remedy were warranted, vacatur of the March 2022 updates

would suffice. No injunction is warranted. See Monsanto Co. v.

Geertson Seed Farms, 561 U.S. 139, 160–66 (2010). Even if injunctive

relief were appropriate, the Court erred by extending that relief to

future association members (i.e., current nonmembers). Finally, the

court issued overly broad declaratory relief.

       No injunction is warranted. The Supreme Court has held that “[i]f

a less drastic remedy” such as vacatur is sufficient to redress a

plaintiff’s injuries, then “no recourse to the additional and

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extraordinary relief of an injunction [i]s warranted.” Monsanto, 561

U.S. at 165–66. If Plaintiffs are entitled to any remedy, vacatur of the

changes to the manual would suffice. Plaintiffs have attributed their

alleged injuries to the March 2022 manual updates. ROA.24, 26.

Vacating the Manual updates, then, would provide Plaintiffs with full

relief from their alleged injuries because it would put them in the same

position they were in before the updates were made. See Church of

Scientology of Cal. v. United States, 506 U.S. 9, 12 (1992). Thus, “no

recourse to the additional and extraordinary relief of an injunction [i]s

warranted.” Monsanto, 561 U.S. at 165–66.

     The injunction is not only unwarranted, but it is also overbroad: it

applies to future members of Plaintiff organizations. This was an error

for two reasons. First, Plaintiffs lack standing to assert claims on behalf

of future members. The Supreme Court has never recognized an

association’s standing to bring suit on behalf of nonmembers—and

future members are just that: current nonmembers. Hunt, 432 U.S. at

343 (recognizing associational standing to sue for members). Second,

traditional remedial principles also weigh against extending relief to

future members. “[I]njunctive relief should be no more burdensome to


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the defendant than necessary to provide complete relief to the

plaintiffs.” Lion Health Servs., Inc. v. Sebelius, 635 F.3d 693, 703 (5th

Cir. 2011) (quotation marks and citation omitted). Injunctive relief

directed to Plaintiffs’ current members will provide complete relief to

Plaintiff associations. Importantly, an injunction that extends to future

members operates as a de facto universal injunction, and, thus, raises

some of the same troubling issues as a traditional universal injunction.

Trump v. Hawaii, 138 S. Ct. 2392, 2425 (2018) (Thomas, J., concurring).

Here, there is another concern: tying the injunction to organizational

membership effectively empowers Plaintiffs to issue licenses for access

to its benefits as a perk of membership.

     Finally, a word about declaratory relief. The declaratory relief

awarded by the court is overbroad. The court declared that the Bureau

lacks the statutory authority to ever treat a discriminatory act or

practice as unfair. ROA.3109. But as demonstrated earlier, this is

incorrect. In its opinion, the court noted that the Bureau “concede[d]

that ‘declaratory relief would be an appropriate remedy’ if the court

credits any of plaintiffs’ claims.” ROA.3104. But the premise of the

concession, of course, was that only “appropriate” declaratory relief


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would be an appropriate remedy. For example, the Bureau’s position

could not be taken as a concession that the district court could declare

that Bureau lacks the authority to regulate financial institutions in any

way. The same logic applies here. The declaratory relief issued by the

district court is overbroad. It should be vacated.

                             CONCLUSION

     For these reasons, the Court should reverse the district court’s

judgment.

Dated: August 7, 2024                   Respectfully submitted,


                                            Seth Frotman
                                              General Counsel
                                            Steven Y. Bressler
                                              Deputy General Counsel
                                            Christopher Deal
                                              Assistant General Counsel

                                             s/ Justin M. Sandberg
                                            Justin M. Sandberg
                                            Ryan Cooper
                                              Senior Counsel
                                         Consumer Financial Protection
                                         Bureau
                                         1700 G Street NW
                                         Washington, DC 20552
                                         Justin.Sandberg@cfpb.gov
                                         Ryan.Cooper@cfpb.gov
                                         (202) 450-8786 (Sandberg)
                                         (202) 702-7541 (Cooper)

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                       CERTIFICATE OF SERVICE

     I hereby certify on this 7th Day of August, 2024, a true and correct

copy of this document was served electronically by the Court’s CM/ECF

system to all counsel of record who have identified email as their

preferred method of service.



                                   s/ Justin M. Sandberg
                                  Justin M. Sandberg
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                  CERTIFICATE OF COMPLIANCE

     I hereby certify that the foregoing complies with the type-volume

limitation of Fed. R. App. P. 27(d)(2) because it contains 12,789 words.

The motion also complies with the typeface and type-style requirements

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proportionally spaced typeface.


                                         /s/ Justin M. Sandberg
                                        Justin M. Sandberg
